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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION


ANNE HARDING, et al.,                §
                                     §
       Plaintiffs,                   §
                                     §
v.                                   §
                                     §
COUNTY OF DALLAS, TEXAS,             §
et al.,                              §             C.A. NO. 3:15-CV-00131-D
                                     §
       Defendants.                   §
                                     §




     DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFFS’ CROSS-
     MOTION FOR DISQUALIFICATION OF J. GERALD HEBERT AND
               REPLY TO PLAINTIFFS’ OBJECTION
              TO MOTION FOR PROTECTIVE ORDER
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         Defendants hereby submit this Brief in Opposition to Plaintiffs’ Cross-Motion

with supporting brief to disqualify counsel for Defendants, Mr. J. Gerald Hebert, “from

Taking an Active Role Before the Court in This Matter[.]” Pls.’ Br. at 1. Defendants

also submit this in reply to Plaintiffs’ Objection to Defendants’ Motion for a Protective

Order.1

                                      INTRODUCTION

         Plaintiffs’ radical effort to disqualify Mr. Hebert from speaking in the

courtroom is completely without merit and untethered to any rule or case law.

Although their exact legal arguments are difficult to identify, Plaintiffs appear to

contend that because Mr. Hebert, who was charged with providing legal advice to the

Commissioner’s Court, publicly explained the necessity of complying with Sections 2

and 5 of the Voting Rights Act, he must no longer speak in court because Plaintiffs

assert a counter-intuitive “interpretation” of these public statements—that they really

communicate an intent to discriminate against Anglo voters and to improperly sort

voters based upon race. Plaintiffs’ motion fails for a number of reasons explained

below.

         But more broadly, plaintiffs’ motion, if granted, would have far-reaching and



1
 Plaintiffs’ “Objection” merely references the brief filed by Plaintiffs on these issues and makes no
new or additional points to those made in Plaintiffs’ brief.
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damaging results. Local and state governments, city councils, county commissioner

courts, and other governmental bodies routinely rely upon in-house and retained

counsel to both advise them on the legality of proposed policies and to defend those

policies against legal challenges. For example, the Texas Attorney General’s Office

advises the legislature, its committees, and its leaders about their legal requirements

in redistricting, and those same attorneys then defend the State in court against

challenges to the enacted redistricting plans. The Attorney General’s office testifies

in committee hearings about the legality of legislative proposals, and then defends the

State against any legal challenges to those laws. Municipal attorneys publicly advise

local governments at public meetings, or in private, about proposed ordinances. And

many localities can at most afford to pay a single staff attorney.

      If Plaintiffs’ gambit here succeeds, a raft of disqualification motions will be filed

against any government attorney who fulfills both roles in his or her job description—

advising governmental clients of their legal obligations, and later defending

governmental clients in court. This is not what the ethics rules require. For this and

other reasons described below, Plaintiffs’ motion is sorely misplaced and must be

denied.




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                                      ARGUMENT

I.       Disqualification is Unwarranted Because Mr. Hebert’s Testimony is Not
         Necessary to Establish Any Material Fact.

         Plaintiffs have not satisfied their burden to show that any of the factors

requiring disqualification are present here. Mr. Hebert is not a necessary witness to

any of Plaintiffs’ claims, and any testimony he would provide is cumulative of other

sources.

         A lawyer may be disqualified if he is a necessary witness. See, e.g., Horaist v.

Doctor’s Hosp. of Opelousas, 255 F.3d 261, 266 (5th Cir. 2001). But disqualification is

an extreme action that robs a party of its chosen counsel. Thus “the party seeking

disqualification bears a heavy burden of demonstrating that disqualification is

necessary.” Bonnecaze v. Ezra & Sons, LLC, No. 14-1774, 2016 WL 2820188, at *2

(E.D. La. May 13, 2016). When “a lawyer discovers during litigation that he may be

called as a witness other than on behalf of his client, he may continue the

representation until it is apparent that his testimony would prejudice his client.”

Horaist, 255 F.3d at 266 (internal quotation marks omitted). “Testimony is considered

prejudicial . . . if it is so adverse to the client’s side that the bar or the client might

have an interest in discrediting the testimony, and the movant has the burden of

establishing prejudice with specificity.” Id. at 267 (internal quotation marks omitted).

         A lawyer is not a necessary witness if the testimony is available from another

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source; “the movant must explain why other sources revealed in the record such as the

testimony of other witnesses or other pertinent records in evidence, are insufficient.”

Hernandez v. Frazier, No. SA -11-CA-9-FB, 2011 WL 13136191, at *5 (W.D. Tex. 2011)

(internal quotation marks omitted). And “[i]f a lawyer’s testimony is capable of

corroboration by another witness, or merely cumulative, it is unlikely that the lawyer’s

testimony will be considered necessary.” Id. A lawyer cannot be disqualified if “most

information would be privileged,” K.R. ex rel. Doe v. Clarity Child Guidance Ctr., 4 F.

Supp. 3d 856, 858 (W.D. Tex. 2014), and the movant “must affirmatively and

unequivocally state his intention to call the attorney as a witness,” In re Duke

Investments, Ltd., 454 B.R. 414, 423 (Bankr. S.D. Tex. 2011) (internal quotation marks

omitted). Plaintiffs’ contention that Mr. Hebert is a necessary witness, and thus must

be muzzled and prohibited from speaking in the courtroom, fails for a host of reasons.

      First, Plaintiffs have not met their burden for disqualification because Plaintiffs

have not even told this Court—or Defendants—which of Mr. Hebert’s public

statements they contend preclude his continued role as a “speaking” attorney.

Nowhere in their motion or Appendix do they provide the Court—or Defendants—

with quotations from the transcript from which to assess the relevance of Mr. Hebert’s

statements, how they make him a necessary witness, why they do not suffice in

themselves as evidence absent any additional testimony, or how Mr. Hebert’s


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continued participation (or prior public statements) might prejudice his clients (or

anyone else, for that matter). Instead, Plaintiffs provide only their own vague

characterization and “understanding,” Pls.’ Br. at 15, that these undisclosed

statements show the redistricting plan “was drawn with race as its predominant factor

and with the express intent to fragment Dallas’s Anglo minority.” Pls.’ Br. at 7-8.2

This is hardly sufficient to satisfy Plaintiffs’ heavy burden to prove Mr. Hebert must

be disqualified as a necessary witness. It is not even sufficient to notify Defendants of

what it is, exactly, they are supposed to be responding to here. This alone requires

denial of Plaintiffs’ motion.

        Nonetheless, Defendants attach hereto a transcript of Mr. Hebert’s remarks at

the May 21, 2011 hearing—their best guess as to what Plaintiffs might be referring to.

At that hearing, Mr. Hebert explained to the Defendants County Commissioners that

a priority was complying with Sections 2 and 5 of the Voting Rights Act, App. at 24,

and that “[r]acial considerations have not played any predominant or driving force

role in the creation of the districts except insofar as we have attempted to avoid


2
  Plaintiffs incorrectly claim that Mr. Hebert participated in the drawing of the redistricting plan.
Pls.’ Br. at 7. He did no such thing. He merely gave legal advice to his clients and to the expert
consultant he retained to actually draw the map (a fact Plaintiffs seem to acknowledge in the very
same paragraph. See id.). This is similar to the role typically played by Attorneys General across the
country when they speak at a legislative hearing and advise state officials what the law requires and
how the plan needs to meet those requirements.



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retrogression. . . . I say that because, while we have taken race into account to ensure

we did not violate the Voting Rights Act, we have not let race drive this process, and

none of you have in giving me feedback as to how the districts should be configured.”

Id. at 31. 3

        From that, apparently, Plaintiffs claim that Mr. Hebert was really communicating

that race predominated in the consideration of the line drawing and that it was done

“with the express intent to fragment Dallas’s Anglo minority.” Pls.’ Br. at 7-8. This

makes absolutely no sense. Mr. Hebert’s public statements are the exact opposite of

what Plaintiffs vaguely allude in their motion. Plaintiffs appear to be arguing that

because they “interpret” these statements to mean the exact opposite of their face value

meaning, Mr. Hebert must be disqualified because his client will surely dispute their

(backwards) interpretation. See Pls.’ Br. at 8. This is absurd. A party cannot simply

assert that black is white and up is down, and then obtain disqualification of his

opposing party’s attorney because his gross mischaracterization of that attorney’s




3
 At an earlier hearing, on May 10, 2011, Mr. Hebert outlined the requirements of Section 5 of the
Voting Rights Act, which was in effect at that time, prior to the Supreme Court’s decision in Shelby
County v. Holder, 133 S. Ct. 2612 (2013). Under Section 5, Mr. Hebert explained that the new map
could not cause retrogression in minorities’ ability to elect their candidates of choice. At the May
17, 2011 hearing, Mr. Hebert indicated that the new map avoided retrogression by maintaining one
district that would continue to permit African American voters to elect their candidate of choice,
and one district that would permit Latino voters to elect their candidate of choice. These statements
relayed the requirements of Section 5 of the Voting Rights Act, and Mr. Hebert’s understanding
thereof.
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statement must necessarily be disputed.

      Second, even if one suspends reality and concludes that Mr. Hebert’s statements

mean the opposite of what they say and pretend for a moment that they indicate that

race was the predominant redistricting criterion, he still cannot possibly be a

“necessary witness” to any “material fact” because Plaintiffs’ live complaint does not

allege a racial gerrymandering/Shaw claim. Plaintiffs’ Second Amended Complaint

states three causes of action: (1) that Section 2 of the Voting Rights Act requires two

Anglo districts, (2) that the plan constitutes intentional vote dilution through cracking

and packing in violation of the Fourteenth Amendment, and (3) that to the extent the

Court concludes that Section 2 of the Voting Rights Act does not protect Anglos, the

Voting Rights Act is a violation of the Fourteenth Amendment. See Second Am.

Compl. ¶¶ 25-33, ECF No. 31. Nowhere in the Complaints’ “Claims for Relief” does

Plaintiff mention “racial gerrymandering” or “Shaw v. Reno.” Rather, Plaintiffs’

Fourteenth Amendment claim is presented exclusively as an intentional vote dilution

claim, complaining that it allegedly “purposefully fragment[s] Dallas’s Anglos . . . [and

thus is] designed . . . to reduce and less[e]n Dallas’s Anglos’ electoral opportunities

significantly below the level of opportunities that would have been available under a

map compliant with neutral principles.” Second Am. Compl. ¶ 31.

      The Court should not permit disqualification of counsel for alleged statements


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that relate to a claim Plaintiffs have not even pleaded. As the Supreme Court has made

clear, a racial gerrymandering/Shaw claim is

      analytically distinct from a vote dilution claim. Whereas a vote dilution
      claim alleges that the [government] has enacted a particular voting
      scheme as a purposeful device to minimize or cancel out the voting
      potential of racial or ethnic minorities, an action disadvantaging voters
      of a particular race, the essence of the equal protection claim recognized
      in Shaw is that the [government] has used race as a basis for separating
      voters into districts.

Miller v. Johnson, 515 U.S. 900, 911 (internal quotation marks and citations omitted).

The three-judge district court considering Texas’s congressional and state house

redistricting plans recently concluded that several plaintiffs’ complaints failed to state

racial gerrymandering/Shaw claims because their complaints likewise framed their

Fourteenth Amendment claims solely as vote dilution claims, as Plaintiffs have done

here, and not as racial gerrymandering/Shaw claims. See Perez v. Abbott, 253 F. Supp.

3d 864, 932 (W.D. Tex. 2017). There, the court explained that the plaintiff did not

properly raise a Shaw claim because “the racial gerrymandering language was omitted

from their live complaint . . . . The Fourteenth Amendment claims are couched only

in terms of intentional discrimination and vote dilution.” Id. The same is true here.

Because Plaintiffs’ “live Complaint . . . does not assert an obvious Shaw-type claim,”

id., Mr. Hebert’s statements about whether race predominated are irrelevant. His

testimony cannot be “necessary” to proving a material fact of a legal claim Plaintiffs


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have not properly alleged.

        Third, Mr. Hebert is not a necessary witness because Plaintiffs have expressly

disclaimed any intent to call him as a witness. See, e.g. Pls.’ Br. at 13. Rather, they

instead ask this Court to either: 1) gag him from speaking in court (though apparently

they think he is still permitted to draft written pleadings), see Pls.’ Br. at 15; or 2) if he

does speak, force Defendants to forego disputing Plaintiffs’ counter-factual

“interpretation” of Mr. Hebert’s public statements—which on their face mean the

exact opposite of what Plaintiffs contend. This is improper. Because Plaintiffs have

disclaimed any intent to call Mr. Hebert as a witness, he is not a “necessary” witness. See

In re Duke Investments, Ltd., 454 B.R. at 423 (noting that the movant “must

affirmatively and unequivocally state his intention to call the attorney as a witness”

(internal quotation marks omitted)). 4


4
 As noted above, Plaintiffs have expressly agreed not to call Mr. Hebert as a witness. As noted in the
motion for a protective order, counsel for Plaintiffs and Defendants conferred by phone and email
in September about the issue of whether Plaintiffs intended to call Defendants’ counsel as fact
witnesses. An agreement was struck that seemingly resolved the issue, with counsel for Plaintiffs
making clear that he did not intend to call either counsel (Mr. Rios or Mr. Hebert) as fact witnesses.
At the time of that agreement, Plaintiffs made no mention of seeking to disqualify Mr. Hebert.
Nowhere do plaintiffs dispute the facts set forth in Defendants’ motion for a protective order that
an agreement was reached that Plaintiffs would not call Mr. Hebert as a fact witness. Nor do
Plaintiffs dispute that Defendants’ counsel made clear in that exchange that Defendants too had no
such intention to call counsel as a witness. Defendants’ counsel went even further, stating that
Defendants stood by any statements that legal counsel had made at public redistricting hearings in
2011 and would stipulate to their authenticity and admissibility as statements contained in the
public record. Plaintiffs not only fail to dispute the substance of that agreement and exchange in
the emails attached to Defendants’ Motion for a Protective Order, they fail to mention it all in their
briefing.
                                                  9
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       Fourth, Plaintiffs have not shown how anybody—let alone Mr. Hebert’s clients—

would be prejudiced by his speaking in the courtroom. His public comments during

the redistricting process were that he prioritized compliance with the Sections 2 and

5 of the Voting Rights Act and that race was not a predominant or driving

consideration in drawing lines. Plaintiffs offer no conceivable argument, let alone one

stated with “specificity,” Horaist, 255 F.3d at 267, for how Mr. Hebert’s statements

about seeking to comply with federal law are “so adverse to the client’s side that the

bar or the client might have an interest in discrediting the testimony,” id. (internal

quotation marks omitted). Indeed, the plain meaning of Mr. Hebert’s statements

support Defendants’ position.

       Plaintiffs apparently believe that statements by counsel to the effect that

Defendants’ redistricting plan had to take race into account in order to maintain two

effective minority opportunity districts in order to avoid retrogression under the

Voting Rights Act is proof of intentional discrimination against Anglos. Plaintiffs

state that Mr. Hebert’s statements that the plan needed to maintain two majority-

minority districts to comply with the Voting Rights Act show that that Dallas

redistricting plan “was drawn with race as its predominant factor and with the express

intent to fragment Dallas’s Anglo minority community between districts sufficiently

to assure that they could elect no more than one (1) Commissioner to the Dallas


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County Commissioners Court.” Pls.’ Br. at 7-8. While Defendants disagree with

Plaintiffs’ interpretation and characterization of the remarks, they are free to offer

them and, as noted above, Defendants have stipulated to their admissibility as

statements contained in the public record.5

        At the end of the day, it doesn’t matter whether Mr. Hebert’s legal advice was

correct or incorrect regarding whether the County was legally obligated under the

Voting Rights Act to maintain two effective minority opportunity districts, such

statements would not harm Plaintiffs. Indeed, Plaintiffs claim that Mr. Hebert’s

remarks help their case since they take the view that the intentional creation or

maintenance of an effective majority Latino and an effective majority African-

American district is evidence that the plan was drawn with discriminatory intent

against whites. While Plaintiffs’ assertions of that position is plainly wrong as a matter

of law, nothing in Mr. Hebert’s public statements on those issues harm Plaintiffs in

any way in making their arguments. Put differently, Mr. Hebert’s statements that the

redistricting plan needed to maintain two effective minority opportunity districts to

comply with the Voting Rights Act cannot plausibly be a central or material issue for



5
  Plaintiffs further note that Mr. Angle has acknowledged in his deposition testimony that he was
instructed to create an African-American opportunity district and a Latino opportunity district in
order to comply with the provisions of the Voting Rights Act. Thus, to the extent that plaintiffs
believe those statements are “a material issue in contention,” they already have statements made by
counsel and Mr. Angle to that effect.
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the Plaintiffs in a case where they contend that the plan violates the Voting Rights

Act.

        Fifth, Mr. Hebert is not a necessary witness because his public statements at the

redistricting hearing are admissible evidence that speak for themselves, and any

testimony by Mr. Hebert would be duplicative of the public record statements. Thus,

even if Plaintiffs had not already disclaimed any intent to call Mr. Hebert as a witness,

any attempt to do so would be unnecessary and cumulative of the existing public

record. Indeed, throughout their motion, Plaintiffs state they intend to rely upon the

statements Mr. Hebert made at the Commissioner Court’s hearings. See Pls.’ Br. at 2,

8. That is fine—Defendants have already acknowledged they may do so and that the

statements are admissible and authentic. But Plaintiffs’ intent to do so proves how

Mr. Hebert is not a necessary witness at trial—any testimony Plaintiffs might seek to elicit

from Mr. Hebert would either be duplicative of his public record statements or would

be privileged. See Clarity Child Guidance Ctr., 4 F. Supp. 3d at 858. Because Plaintiffs

can obtain the information they seek from the public record, rather than through Mr.

Hebert’s trial testimony, they have failed to meet their burden to show his testimony

is necessary.6


6
  This underscores the oddity—and confusing nature—of Plaintiffs’ disqualification motion. Their
only stated argument is based upon the Lawyer as Witness rule, but they have disclaimed any intent
to call Mr. Hebert as a trial witness. Indeed, they have affirmatively stated that his public hearing

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II.    Plaintiffs’ Motion is Untimely.

       Although Plaintiffs’ motion can and should be rejected on the merits, it should

also be rejected outright as untimely. Three years have passed since this case was filed.

For three years Plaintiffs have known of Mr. Hebert’s active participation in this

litigation as counsel for Defendants. For six years it has been public information that

Mr. Hebert served as counsel for Dallas County during the redistricting process.

Indeed, Plaintiffs’ initial Rule 26 disclosures in the case filed in June 2015 listed

Defendants’ counsel (Messrs. Hebert and Rios) as persons Plaintiffs claimed had

knowledge of the facts relevant to this litigation. See Appendix to Plaintiffs’ Pls.’ Br.

at Ex. A. Despite their knowledge at the time of their own disclosures, Plaintiffs

waited over two years after serving their Rule 26 disclosures, three years after the case

was filed, and six years after becoming aware Mr. Hebert had served as redistricting

counsel in 2011, to spring the threat of disqualification—without even the courtesy of

a phone call prior to Mr. Hebert’s flight from Washington, D.C. to Texas to take a

deposition—upon Defendants at the start of a deposition at the end of the discovery


statements are all they need, and that they “will rely on Mr. Hebert’s ‘admissions.’” Pls.’s Br. at 2.
This alone (like everything else discussed herein) defeats Plaintiffs’ motion because they admit they
can obtain all they need from another source—the public record. It thus appears that Plaintiffs
merely wish to take the Lawyer as Witness rule out of context, ignore all its particulars, and use it to
either: 1) gag Mr. Hebert from speaking in the courtroom as a lawyer, so that Defendants cannot
have the benefit of the nationally recognized Voting Rights lawyer they retained, or 2) require
everyone to accept as true their nonsensical, counter-factual “interpretation” of Mr. Hebert’s public
remarks. The relief they request is entirely divorced from the rule upon which they base their
motion, and they cite no law or rule or case that grants what they seek.
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period. Worse still, this gambit was pulled more than a month after counsel had

agreed by e-mail that Messrs. Hebert and Rios would not be called as witnesses in this

case, reasonably and fully resolving this issue. This hide-and-wait, spring-it-at-the-last-

minute strategy is inexcusable and reveals the motion for what it is, a litigation game.

This alone requires the outright denial of plaintiffs’ motion.

          Plaintiffs offer no reasonable justification for their inexcusable delay and

surprise retreat from their prior agreement with Defendants’ counsel. In their

motion, Plaintiffs’ only proffered excuse for their delay is that they were unaware of

the extent 7 of Mr. Hebert’s public statements during the public redistricting hearings

because they claim they had no access to the recordings of those hearings until

Defendants produced them as part of discovery in August 2017. Pls.’ Br. at 12. This

is inaccurate. First, nearly all of the recordings have been available on the County’s

website during the entire time this litigation has been pending. 8 Indeed, it appears

that Plaintiffs’ counsel not only had access to those publicly posted videos long before

“mid-August 2017,” as they incorrectly claim in their motion, Pls.’ Br. at 12, but had

actually in fact viewed those publicly posted videos years ago. The reason we know this

is because Plaintiffs’ Second Amended Complaint quotes extensively from the June 7,


7
    Plaintiffs seriously exaggerate the “extent” of Mr. Hebert’s public statements.
8
 See Dallas County, Videos of Recent Court Meetings,
http://www.dallascounty.org/government/comcrt/videos.php#.
                                                    14
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2011 hearing—quotes presumably obtained from the video posted on the county

website. See, e.g., Second Am. Compl. ¶¶ 18-19, ECF No. 31. Second, the recordings

that were not posted to the website were provided to DOJ as part of Defendants’

Section 5 Preclearance Submission. A copy of that submission was provided in

discovery to Plaintiffs in 2015, yet it seems the first time Plaintiffs bothered to review

the documents produced by Defendants in discovery was two years later, in June of

2017. See Ex. B to Pls.’ Br. App.

      Critically, Plaintiffs never served any discovery request specifying the

redistricting hearing recordings as documents or tangible things they were seeking.

Rather, Plaintiffs served an overly broad and vague request for “[a]ll documents related

to any claim asserted in the Live Complaint.”       App. 10 (Defendants’ Response to

Request for Production No. 3). In response, Defendants incorporated their general

objections to overly broad requests and requests for information equally available to

Plaintiffs. See id. at 6, ¶¶ 2, 4; 6. Defendants’ objections were well placed—the Federal

Rules of Civil Procedure do not permit such overly broad discovery requests. See Fed.

R. Civ. P. 34(b)(1) (noting that discovery requests “must describe with reasonable

particularity each item or category of items” requested (emphasis added)). Indeed,

courts have specifically rejected the exact document request at issue here as improper.

See, e.g., Andra Grp., LP v. JDA Software Grp., Inc., 312 F.R.D. 444, 453-54, 458 (N.D.


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Tex. 2015) (rejecting as overbroad request for “[e]ach document . . . referring or

relating to any of the operative allegations of the Complaint (bracket and ellipses in

original)).

        After being served Defendants’ objections and responses, Plaintiffs did

nothing. They did not file a motion to compel or seek a ruling on Defendants’

objections. Not until June of 2017 did they give any hint that they viewed their overly

broad discovery request as actually seeking hearing recordings, most of which were

already publicly available online. Defendants met their discovery obligations—they

responded in writing, produced documents, and objected where appropriate. If

Plaintiffs thought the objections were unwarranted—a view that would be contrary to

the relevant case law—their obligation was to say so at some reasonable time after the

Responses and Objections were served. But Plaintiffs certainly cannot wait two years

to complain about their failure to receive recordings that they never asked for, never

mentioned, and never specified—to Defendants, the Court, or otherwise—and then

use that complaint as a justification for failing to raise disqualification earlier. 9

        Dilatory discovery conduct cannot plausibly serve as an excuse for a dilatory

disqualification request. Plaintiffs’ motion is untimely, and their only purported

justification for their delay has no merit, whether on its own terms as a discovery

9
 Even though Plaintiffs never actually sought them in discovery, Defendants subsequently produced
all the digital files they later requested for the first time by email in the summer of 2017.
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dispute, or as an excuse for their tardy disqualification motion. This alone requires

denial of their motion. 10

III.     Defendants Would Be Prejudiced by Mr. Hebert’s Disqualification.

         Plaintiffs’ Brief in support of their motion to disqualify states Defendants

would not be prejudiced by Mr. Hebert’s disqualification. Pls.’ Br. at 2. That is

untrue. First, Defendants have already been tactically disadvantaged because, as a

result of the postponement of the Plaintiffs’ expert deposition, one of Plaintiffs’

experts will now be deposed last among the experts despite Plaintiffs’ bearing the



10
  Plaintiffs also make a confusing argument related to Mr. Angle’s deposition testimony. Plaintiffs
note that “[o]nly last week, when the Defendants refused to produce contemporaneous documents
(pursuant to a subpoena duces tecum) that their own expert Matt Angle’s report had: (a) disclosed
to exist; and (b) partially disclosed the contents of, did Plaintiffs finally conclude that they must,
indeed, file the Motion to Disqualify.” Pls.’ Br. at 13 (footnote omitted). But all that Mr. Angle has
disclosed is that he was instructed by counsel to maintain two districts as effective minority
opportunity districts in order to comply with the Voting Rights Act. Those statements by Mr. Angle
were not a breach of attorney-client privileges or disclosure of legal communications between Mr.
Hebert and Mr. Angle because those same statements (the need to comply with the Voting Rights
Act) had been made by Mr. Hebert at the public redistricting hearings in 2011. Mr. Angle’s Report
and deposition testimony simply confirmed the information Mr. Hebert had publicly given
Defendants in 2011.

Plaintiffs’ motion to disqualify Mr. Hebert as counsel (or to force Mr. Angle to disclose the private,
confidential legal advice Mr. Hebert gave him) flies in the face of this Court’s December 23, 2016
order granting in part and denying in part Plaintiffs’ Motion to Compel Discovery: “Because
plaintiffs do not dispute that the attorney-client privilege applies to all communications between
defendants’ counsel and Angle Strategies that enabled defendants’ counsel to give legal advice, the
court will not compel the production of such communications. Nor will the court order the
production of any documents that contain the communication of legal advice among defense
counsel, Angle Strategies, and the members of the Commissioners Court.” Order, ECF No. 60 at
24. This order too reflects that Mr. Hebert was not then and is not now a necessary witness and, if
not raised before, triggered Plaintiffs’ obligation to raise this issue back in 2016.


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burden of proof. Second, disqualification of Mr. Hebert would rob Defendants of

their most experienced counsel. Mr. Hebert has served as lead legal counsel in

numerous voting rights cases over the last five decades. He spent over twenty years in

the Civil Rights Division of the United States Department of Justice, most of that

time in the Voting Section where he served in a number of supervisory capacities,

including Acting Chief, Deputy Chief, and Senior Litigation Counsel. He has served

as legal counsel in several cases decided by the U.S. Supreme Court, including, among

others: Johnson v. DeGrandy, LULAC v. Perry and Gill v. Whitford. Recently, one federal

court noted Mr. Hebert was “a nationally renowned subject-matter expert on the

Voting Rights Act with over 40 years of experience[.]” State of Texas v. United States,

No. 11-1303 (RMC), Memorandum Opinion, March 30, 2017.

      Third, Plaintiffs mistakenly claim that one of Defendants’ counsel, Mr. Dunn,

is “lead counsel on every pleading filed with the Court.” Id. at 9. Simply because Mr.

Dunn’s signature appears on most pleadings does not make him lead counsel. In fact,

none of the Defendants’ counsel is serving lead counsel—they equally divide

responsibilities in this case, and Mr. Hebert has written or edited every filing made by

Defendants.    Plaintiffs have designated four expert witnesses and counsel for

Defendants have divided responsibility for deposing those witnesses (and cross-

examining at trial if one is held). In sum, while Mr. Hebert’s co-counsel have extensive


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experience in voting rights and redistricting litigation, disqualification of Mr. Hebert

would deprive Defendants of being represented throughout the remainder of this case

by legal counsel with the most experience in cases such as this and a national

reputation of subject matter expertise.      Indeed, it is likely Mr. Hebert’s extensive

experience motivates Plaintiffs to seek his disqualification.

IV.   The Expenses Sought in Defendants’ Motion for a Protective Order Are
      Appropriate.

      Plaintiffs argue that awarding Defendants the expenses incurred by Mr. Hebert

in traveling to Dallas to take their expert’s deposition and the time he spent preparing

the Motion For A Protective Order is unwarranted. Pls.’ Br. at 14. Plaintiffs do not

claim that either the amount of expenses incurred, or the time spent, or the hourly

rate sought are unreasonable or excessive. They simply claim that the costs incurred

are a result of Defendants’ actions, not Plaintiffs’. Id.

      As noted above, Plaintiffs never raised the issue of disqualification until the

start of the depositions in Dallas in late October. Indeed, given the agreement that

had been reached between Plaintiffs’ and Defendants’ counsel in September that

neither Mr. Hebert nor Mr. Rios would be called as witnesses by Plaintiffs, it was

entirely reasonable for Mr. Hebert to travel to Dallas and take the deposition of one

of Plaintiffs’ four identified experts. Counsel for Plaintiffs’ complete failure to raise

any objection or allege a possible ethical violation until after Mr. Hebert had travelled

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from Washington, DC to Dallas and was ready to start the deposition shows not only

a lack of professional courtesy, but was foolhardy and vexatiously multiplied the

proceedings in this case. See 28 U.S.C. § 1927.

         Plaintiffs’ claim that the parties could have called this Court for a ruling on the

objection is nonsense. Plaintiffs had only objected to Mr. Hebert’s presence in the

deposition room at that time and for the first time hinted that they perceived a

possible ethical violation if he took the deposition. It wasn’t until three days ago that

they finally sought his disqualification, after coyly hiding behind the log for years

before raising the issue. It wasn’t until Defendants forced Plaintiffs’ hand by moving

for a protective order that Plaintiffs had to come out from behind the log and make

their disqualification arguments. The issues raised by Plaintiffs—confusing, meritless

and nonsensical 11 as they are—could hardly have been dealt with in a telephone call to

this Court, as Plaintiffs suggest. Pls.’ Br. at 14. Plaintiffs’ brief alone on this issue is

15 pages long, as is this response in opposition. In a case such as this, where counsel

with 45 years of professional experience as an attorney is threatened by another party

in litigation with a possible bar complaint, such a matter has to be taken very seriously


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  For example, Plaintiffs’ entire Brief in support of their Motion to Disqualify is premised on the
view that they intend to rely on Mr. Hebert’s 2011 statements during redistricting public hearings,
not on his live testimony as a trial witness. Indeed, Plaintiffs’ counsel stated unequivocally in the
email exchange attached to Defendants’ Motion For A Protective Order that Plaintiffs would not
call him as a witness. Yet in their motion to disqualify Mr. Hebert, they claim that “Mr. Hebert’s
testimony [is] necessary.” Pls.’ Br. at 5.
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and is best resolved with written motions and briefing.

                                  CONCLUSION

      For the foregoing reasons the Motion to Disqualify should be denied, the

protective order granted and Defendants’ costs recovered.

      Dated this 16th day of November, 2017.

                                       Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 16 t h day of November 2017, a true and correct
copy of the foregoing was served by the Court’s Electronic Case Filing System
on all counsel of record.

                                             By: /s/ Chad W. Dunn
                                             Chad W. Dunn




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